Case 1:21-cv-11075-NMG Document113_ Filed 04/17/25 Pageiof8

United States District Court
District of Massachusetts

Camilla Davalos, et al.
Plaintiffs,

Civil Action No.
21-11075-NMG

V.
Baywatch, Inc., et al.,

Defendants.

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MEMORANDUM & ORDER
GORTON, J.

This case arises from allegations that defendants,
Baywatch, Inc., and Alexander Alexopoulos (collectively,
“defendants”), improperly used images of the plaintiffs,
purportedly well-known professional models, to promote a
nightclub. Following the certification of a question of law to
the Massachusetts Supreme Judicial Court (“SJC”), this Court
entered summary judgment in favor of defendants. Now before the
Court is the motion of plaintiffs for reconsideration of that
order. For the reasons that follow, the motion will be denied.

I. Background

Plaintiffs, Camila Davalos, Mariana Davalos, Jamie
Middleton, Joanna Krupa, Marta Krupa and Paola Canfas
(collectively, “plaintiffs”), allege that defendants

misappropriated their likenesses in a series of Facebook posts

-1-
Case 1:21-cv-11075-NMG Document113_ Filed 04/17/25 Page 2of8

between August, 2013, and November, 2015. The posts purportedly
gave the appearance that plaintiffs endorsed or were associated
with defendants’ adult entertainment nightclub, “Club Alex.”

In 2021, plaintiffs filed suit in this Court, asserting 12
causes of action including unauthorized use of a person’s name,
portrait or picture in violation of M.G.L. c. 214 § 3A and
unfair trade practices in violation of M.G.L. c. 93A § 11. The
Court initially entered summary judgment in favor of defendants.
On reconsideration, and after recognizing that the applicability
of the discovery rule to social media posts presented a novel
question of Massachusetts law, the Court certified a question to
the SUC. Based upon the answer to that certified question, this
Court entered summary judgement on all counts, finding
plaintiff’s tort claims were brought outside the applicable
limitations period and that plaintiff's Lanham Act claims were
barred by the doctrine of laches. Now, plaintiffs move for this
Court to reconsider its order entering summary judgment.

Ir. Legal Standard

Under Rule 59(e), courts have “substantial discretion” and

“broad authority” to allow or deny reconsideration. Ruiz Rivera

v. Pfizer Pharm., LLC, 521 F.3d 76, 81-82 (1st Cir. 2008). The

United States Supreme Court has cautioned, however, that
district courts should allow reconsideration only when faced

with extraordinary circumstances, such as where the court’s
Case 1:21-cv-11075-NMG Document113_ Filed 04/17/25 Page 3of8

initial order was clearly erroneous and would work a manifest

injustice. Lyons v. Fannie Mae, No. 18-10365-ADB, 2019 WL

1961072 at *2 (D. Mass. May 1, 2019) (citing Christianson v.

Colt Indus. Operating Corp, 486 U.S. 800, 817 (1988)).

Reconsideration should therefore only be “used sparingly.”

Palmer v. Champion Mortg., 465 F.3d 24, 30 (lst Cir. 2006).

To prevail on a motion for reconsideration, the moving
party bears the burden to demonstrate either that 1) there has
been an intervening change in the law, 2) “new and important
evidence,” unavailable at the time the previous order was
entered, has surfaced or 3) the Court committed a manifest error

of law or fact. Davis v. Lehane, 89 F. Supp. 2d 142, 147 (D.

Mass. 2000); Caribbean Mgmt. Group, Inc. v. Erikon LLC, 966 F.3d

35, 44-45 (lst Cir. 2020) (citing Ira Green, Inc. v. Mil. Sales

& Serv. Co., 775 F.3d 12, 28 (1st Cir. 2014)); accord 11 Cc.

Wright, A. Miller & M. Kane, Federal Practice and Procedure

§ 2810.1 (3d ed. Supp. 2020). Mere disagreement with the
reasoning or outcome of a prior order is not an adequate basis
for reconsideration and a motion for reconsideration cannot be
used simply to “regurgitate old arguments previously considered

and rejected.” Ofori v. Ruby Tuesday, Inc., 205 F. App’x 851,

852-53 (lst Cir. 2006); Biltcliffe v. CitiMortgage, Inc., 772

F.3d 925, 930 (ist Cir. 2014) (citing Global Naps, Inc. v.

Verizon New Eng., Inc., 489 F.3d 13, 25 (1st Cir. 2007)).

Case 1:21-cv-11075-NMG Document113_ Filed 04/17/25 Page 4of8

III. Analysis

In its motion for reconsideration, plaintiffs assert that
this Court, in entering summary judgment, erred by allegedly
failing to consider the accrual date of their claims and
therefore erroneously found that the statute of limitations and
doctrine of laches barred them. Plaintiffs also dispute certain
discrete aspects of this Court’s decision, namely the Court’s
application of Jones v. Reekes, No. F082499, 2022 WL 594117
(Cal. Ct. App. Feb. 28, 2022), and a footnote that intimated the
existence of facial recognition technology on social media.

Plaintiffs’ arguments regarding this Court’s application of
Jones and the single footnote discussing facial recognition are
unavailing. This Court’s brief analysis of the unpublished
Jones decision and its isolated reference to facial recognition
were, at most, made in passing and were not central to its entry
of summary judgment. Accordingly, such references, even if they
were inapposite, do not amount to a “manifest error” sufficient

to warrant reconsideration. See Audette v. Carrillo, No. 15-cv-

13280-ADB, 2017 WL 1025668, at *6 (D. Mass. Mar. 16, 2017)
(denying reconsideration because “alleged errors of reasoning”
that would not alter the prior holding “do not constitute
grounds for reconsideration”). Instead, those arguments raise

mere disagreements with the Court’s reasoning which fail to
Case 1:21-cv-11075-NMG Document113_ Filed 04/17/25 Page 5of8

warrant reconsideration. See Ofori, 205 F. App’x at 852-53;

Biltcliffe, 772 F.3d at 930.

As to the issue of the date of accrual, the Court finds
plaintiff's contentions equally unpersuasive. As this Court
previously explained, the default statute of limitations under
M.G.L. c. 260, § 2A requires tort claims to be “commenced
within three years ... after the cause of action accrues.”

Davalos v. Bay Watch, Inc., 240 N.E.3d 753, 757-58 (Mass. 2024).

Although plaintiffs contend that the limitations period in cases
involving social media posts, and in particular cases other than
defamation, do not begin to “accrue” until after the plaintiff
knew or should have known about the social media post, the Ssuc’s
answer held to the contrary.

In response to the certified question, the SJC held that
the “general rule” in Massachusetts is that tort claims accrue
from “the date the plaintiff suffers an injury.” Id. at 757.
Even when a tort claim relates to the “publication of the
photographs” in a social media post, claims presumptively accrue
from the “publication of the defamatory statement.” Id. That
accrual standard applies equally regardless of the kind of tort
at issue. In its decision, the SJC did not articulate different
accrual standards for different torts. Instead, it answered the
certified question with a single standard applicable to all tort

claims at issue here. See id. at 755-56.
Case 1:21-cv-11075-NMG Document113_ Filed 04/17/25 Page 6of8

Any potential unfairness to plaintiffs from that brightline
rule is overcome by the “discovery rule,” which permits a claim
to accrue instead from the date the plaintiff “knew or should
have known” of his injury. Id. at 760. The discovery rule thus
presents an exception to the typical accrual rule. Id. at 757.
It is for “purposes of . .. the discovery rule,” not the
limitations period for tort claims overall, that accrual occurs
when the plaintiff knew or should have known of her injury. See
id. at 755, 757-58, 760.

In this case, there is no question that all of the
plaintiffs brought their tort claims more than three years after
defendants published the Facebook posts, the last of which
occurred no later than 2015. Because those tort claims are
presumed to have accrued “upon publication,” id. at 758, they
are “timely” only if the discovery rule applies.

A “proper application of the discovery rule,” in the
context of social media posts, requires the Court to conduct a
“fact-intensive” inquiry based upon the “totality of the
circumstances” to determine whether the plaintiff knew or should
have known about the social media posts at issue. Id. In
conducting that inquiry, other courts have declined to apply the
discovery rule based upon findings that the posts at issue were

widely distributed and publicly available, and the subject
Case 1:21-cv-11075-NMG Document113_ Filed 04/17/25 Page 7 of8

plaintiff had reason to believe that any tortious conduct would
occur via social media posts. Id. at 761-63 (collecting cases).

Generally, a determination that the discovery rule applies,
such that the plaintiff neither knew or should have known about
the social media posts, is a question of fact for the jury. Id.
at 760. For a plaintiff's claims to survive summary judgment,
however, she must “demonstrate a reasonable expectation of
proving that the claim was timely filed.” Id. at 761. The
burden is therefore on the plaintiff to present the Court with a
sufficient dispute of material fact as to the date she knew or
should have known that the social media posts exist. Id.

Here, plaintiffs have failed to meet their burden. In
their motion to reconsider, they proffer no new evidence but
instead reiterate the same argument as to why they neither knew
nor should have known about the Facebook posts. The Court
previously rejected that argument for good reason. There is no
evidence of when plaintiffs discovered the posts at issue, how
they discovered them, how many people viewed them, how many
“likes” or “shares” the posts received or whether the posts were
ever concealed. Moreover, plaintiffs do not deny that they have
been involved in other disputes regarding alleged misuse of
their likenesses online but offer no reason why those posts were

any different or more discoverable than the posts here.
Case 1:21-cv-11075-NMG Documenti113_ Filed 04/17/25 Page 8of8

Instead, plaintiffs invite the Court “specifically [to] set
forth for the parties what th[e] date [of accrual] is.” That
invitation is premised on a fundamental misreading of the SJC’s
decision. The burden was on plaintiffs, not this Court, to
present a genuine issue of material fact that plaintiffs neither
knew nor should have known about Club Alex's posts. See id. at
761. Based upon the extensive gaps in the record of this case,
plaintiffs have not done so. See id. at 763 (describing factual
record in this case as “incomplete”).

Without more, plaintiffs have failed to create “a
reasonable expectation of proving” that their claims were timely
filed. Id. Accordingly, summary judgment in favor of defendants
is appropriate and reconsideration on the issue of accrual will
be denied. That being so, it is unnecessary for the Court to
address plaintiff's argument that the Court’s alleged error
effected its application of laches.

ORDER

For the foregoing reasons, the motion of plaintiffs for
reconsideration of this Court’s order entering of summary
judgment (Docket No. 109) is DENIED.

So ordered.

Nathaniel M. Gorton
United States District Judge
Dated: April Ys 2025
